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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA

EUGENE KAMMER, individually and on                  )
behalf of other similarly situated employees,       )
                                                    )
Plaintiff,                                          )
                                                    )   Case No. 2:21-cv-00083
v.                                                  )
                                                    )   Judge
CET INCORPORATED,                                   )
                                                    )
Defendant.                                          )
                                                    )

                                         COMPLAINT

        Plaintiff Eugene Kammer (“Plaintiff”), individually and on behalf of all others similarly

situated, known and unknown, through his attorneys, for his Complaint against CET

Incorporated (“CET” or “Defendant”), states as follows:

                                 NATURE OF THE ACTION

        1.     Plaintiff brings this case against Defendant to recover unpaid overtime wages,

liquidated damages, and reasonable attorneys’ fees and costs under Section 16(b) of the Federal

Fair Labor Standards Act of 1938, as amended, 29 U.S.C. § 201, et seq. (hereinafter, “FLSA”).

        2.     Plaintiff and other workers like him (collectively, the “Straight Time Workers”)

were not paid overtime as required by the FLSA for work they performed for Defendant.

        3.     Plaintiff and the similarly situated Straight Time Workers are those CET

employees who were paid the same hourly rate for all hours worked, including those in excess of

40 hours in an individual workweek at any work location.

        4.     Plaintiff brings this lawsuit to recover unpaid overtime on behalf of himself and

other Straight Time Workers who elect to opt-in to this action.
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                                 JURISDICTION AND VENUE

        5.     This Court has original jurisdiction under 29 U.S.C. § 216(b) and 28 U.S.C. §

1331(a) because this Action involves a federal question under the FLSA.

        6.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events or omissions giving rise to the claims occurred in this judicial

district.

        7.     CET is incorporated in the state of Indiana.

        8.     CET regularly assigns workers to work for third-party client companies, like

ArcelorMittal Burns Harbor, LLC (“Arcelor”), in this judicial district and division.

                                          THE PARTIES

        9.     Kammer is a resident and citizen of the State of Indiana.

        10.    Defendant CET is “a consulting engineering firm that provides a full spectrum of

professional services that support heavy industrial, commercial and municipal clients. [Its]

services include all disciplines of engineering as well as construction management, cost

management and project start up services.” https://www.linkedin.com/company/cet-

incorporated/about/ (last visited March 1, 2021).

                                        BACKGROUND FACTS

        11.    Kammer was employed by CET as a Labor Shop Foreman at Arcelor’s Burns Harbor,

Indiana facility from on or about February 2017 until on or about May 1, 2020.

        12.    In one or more workweeks during the prior three years while working for CET,

Kammer was paid the same hourly rate for all hours worked (including those hours in excess of 40

hours in a single workweek) with no overtime compensation.

        13.    CET paid Kammer for the work he performed for it at Arcelor.



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         14.   During his employment by CET, Plaintiff was an hourly paid employee.

         15.   Kammer was paid varying hourly rates during different time periods of his

employment, including $20 per hour, $25 per hour, $27 per hour and $30 per hour.

         16.   Plaintiff was only paid his straight time rate for the hours he worked each week.

         17.   For example, for the pay period between January 11, 2019 to January 25, 2019

Kammer worked 120 hours and was paid for those hours at his straight time rate of $27.00.

         18.   In one or both of the workweeks during that pay period, Kammer worked over 40

hours.

         19.   For the pay period between May 11, 2019 to May 25, 2019, Kammer worked

110.70 hours and was paid for those hours at his straight time rate of $27.00.

         20.   In one or both of the workweeks during that pay period, Kammer worked over 40

hours.

         21.   For the pay period between January 11, 2020 to January 25, 2020, Kammer

worked 114.90 hours and was paid for those hours at his straight time rate of $30.00.

         22.   In one or both of the workweeks during that pay period, Kammer worked over 40

hours.

         23.   For the pay period between February 26, 2020 to March 10, 2020, Kammer

worked 103.40 hours and was paid for those hours at his straight time rate of $30.00.

         24.   In one or both of the workweeks during that pay period, Kammer worked over 40

hours.

         25.   Plaintiff did not receive overtime wages for all hours he worked in excess of 40

hours in one or more individual workweeks while working for Defendant.




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       26.     Instead of receiving one-and-one-half times his regular rate of pay as required by

the FLSA, Plaintiff only received “straight time” pay for overtime hours worked.

       27.     Defendant never guaranteed Plaintiff a minimum weekly salary irrespective of

days or hours worked.

       28.     Defendant did not pay Plaintiff on a salary basis.

       29.     Defendant was aware of the overtime requirements of the FLSA.

       30.     Nevertheless, Plaintiff and other hourly employees did not receive overtime while

working for CET.

       31.     Upon information and belief, CET employed more than 30 Straight Time

Workers in the last 3 years.

                               COVERAGE UNDER THE FLSA

       32.     In one or more workweeks during the prior three years, CET was Plaintiff’s

employer within the meaning of the Section 3(d) of the FLSA, 29 U.S.C. § 203(d).

       33.     During each of the last three years, CET was an enterprise within the meaning of

Section 3(r) of the FLSA, 29 U.S.C. § 203(r).

       34.     During each of the last three years, CET was an enterprise engaged in commerce

or in the production of goods for commerce within the meaning of Section 3(s)(1) of the FLSA,

29 U.S.C. § 203(s)(1), because it had employees engaged in commerce or in the production of

goods for commerce, or employees handling, selling, or otherwise working on goods or materials

that have been moved in or produced for commerce.

       35.     During each of the last three years, CET has had annual gross volume of sales

made or business done of not less than $500,000.

       36.     At all times hereinafter mentioned, Plaintiff and the Straight Time Workers were

engaged in commerce or in the production of goods for commerce.

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                              COLLECTIVE ACTION ALLEGATIONS

       37.     Kammer brings this action on behalf of himself and all other similarly situated

hourly employees paid straight time for overtime, under the collective action provisions of the

FLSA. See 29 U.S.C. § 216(b). The class of similarly situated employees sought to be certified

as a collective action under the FLSA is defined as:

       All individuals who worked for CET (whether directly or through third-party
       entities) during the past three years who were paid the same hourly rate for all
       hours worked (including those hours in excess of 40 hours in a single workweek),
       or, “straight time for overtime” (the “FLSA Class”).


       38.     Kammer’s consent form to act as a representative plaintiff is attached hereto as

Exhibit A.

       39.     At all times relevant to this Complaint, Plaintiff and other members of the FLSA

collective worked as non-exempt hourly employees eligible for overtime pay.

       40.     Defendant operated under a common policy of suffering, permitting and/or

requiring Plaintiff and the FLSA collective to work overtime hours while not paying for such

time at one-and-one-half times their regular rates of pay.

       41.     Defendant knew, or should have known, that Plaintiff and the FLSA collective

routinely worked unpaid overtime hours.

       42.     Plaintiff and the FLSA collective regularly worked over forty (40) hours per

workweek.

       43.     Defendant failed to pay Plaintiff and the FLSA collective for the overtime hours

they worked.

       44.     Defendant’s unlawful conduct was widespread, repetitious and consistent,

affecting Plaintiff and all members of the FLSA collective equally.


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       45.     Defendant’s conduct was willful and in bad faith.

       46.     Defendant’s conduct has caused significant damages to Plaintiff and the FLSA

collective.

       47.     Defendant is liable under the FLSA for failing to properly compensate Plaintiff

and the FLSA collective.

       48.     There are numerous similarly situated current and former employees of Defendant

who have been denied proper overtime compensation, in violation of the FLSA.

       49.     These similarly situated employees would benefit from the issuance of court-

supervised notice of this lawsuit for purposes of being informed of their opportunity to join.

       50.     Notice of this action should be sent to all similarly situated employees.

       51.     These similarly situated employees are known to Defendant and are readily

identifiable through Defendant’s records.

                                            COUNT I
                           Violation of the Fair Labor Standards Act
                                       (Collective Action)

       52.     Plaintiff alleges and incorporates by reference the allegations in the preceding

paragraphs.

       53.     The FLSA, 29 U.S.C. § 207, requires employers to pay all non-exempt employees

one and one-half times the regular rate of pay for all hours worked over forty (40) per workweek.

       54.     Plaintiff and the FLSA collective are non-exempt employees entitled to FLSA

overtime compensation for all hours worked in excess of forty (40).

       55.     Plaintiff and the FLSA collective work(ed) in excess of forty (40) hours per week

but did not receive overtime compensation.




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       56.     Defendant failed to compensate Plaintiff and the FLSA collective at one and one-

half times their regular rates of pay for the overtime hours they worked.

       57.     The foregoing conduct constitutes a willful violation of the FLSA, within the

meaning of 29 U.S.C. § 255(a).

       58.     As a direct and proximate result of Defendant’s unlawful conduct, Plaintiff and

those similarly situated have suffered and will continue to suffer a loss of income and other

damages.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, on behalf of himself and all others similarly situated, prays for

the following relief:

               A.       Designation of this action as a collective action on behalf of
                        Plaintiff and those similarly situated;

               B.       Pursuant to 29 U.S.C. § 216(b), prompt issuance of notice to all
                        those similarly situated apprising them of the pendency of this
                        action and permitting them to assert timely FLSA claims by filing
                        individual consent forms;

               C.       Leave to add additional plaintiffs by motion, the filing of written
                        consent forms, or any other method approved by the Court;

               D.       Judgment that Defendant failed to pay Plaintiff and those similarly
                        situated in accordance with the standards set forth by the FLSA;

               E.       Judgment that Defendant’s violations were willful;

               F.       An award in an amount equal to Plaintiff’s and the similarly
                        situated employees’ unpaid back wages at the applicable overtime
                        rate;

               G.       An award to Plaintiff and those similarly situated for the amount of
                        unpaid wages owed, liquidated damages and other penalties
                        provided by law;

               H.       An award of prejudgment interest to the extent liquidated damages
                        are not awarded;

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               I.      Pursuant to 29 U.S.C. § 216 and/or other applicable laws, an award
                       of reasonable attorneys’ fees and costs to be satisfied in full by
                       Defendant; and

               J.      All further relief deemed just and equitable by this Honorable
                       Court.

                                 REQUEST FOR JURY TRIAL

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff and the FLSA

collective request that a jury of their peers hear and decide all possible claims.


                                              Respectfully submitted,

Dated: March 4, 2021
                                              /s/Douglas M. Werman
                                              One of Plaintiff’s Attorneys



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